     Case 2:14-cv-00016-MHT-SRW Document 128 Filed 10/27/15 Page 1 of 1




     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


JOSHUA GRIFFIN,                         )
                                        )
       Plaintiff,                       )
                                        )         CIVIL ACTION NO.
       v.                               )            2:14cv16-MHT
                                        )                (WO)
NEPTUNE TECHNOLOGY GROUP,               )
                                        )
       Defendant.                       )

                                  JUDGMENT

      Pursuant      to    the    joint       stipulation    of    dismissal

(doc. no. 127), it is the ORDER, JUDGMENT, and DECREE

of   the    court    that       this    cause    is   dismissed     in    its

entirety with prejudice and with the parties to bear

their own costs and fees.

      The clerk of the court is DIRECTED to enter this

document      on    the   civil        docket   as    a   final   judgment

pursuant     to    Rule    58    of    the    Federal     Rules   of   Civil

Procedure.

      This case remains closed.

      DONE, this the 27th day of October, 2015.

                                  /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
